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                             4 Filed
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                             44
                             4 Filed
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                                      12/01/16 Desc
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      2:16-bk-17571-BR Claim
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                             44
                             4 Filed
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                                      12/01/16 Desc
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                             44
                             4 Filed
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                                      12/01/16 Desc
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                             4 Filed
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                             4 Filed
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                                      12/01/16 Desc
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                             4 Filed
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                             44
                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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                             44
                             4 Filed
                                Filed10/26/16
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                             44
                             4 Filed
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      2:16-bk-17571-BR Claim
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      2:16-bk-17571-BR Claim
                        Doc 69
                             44
                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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                             4 Filed
                                Filed10/26/16
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                        Doc 69
                             44
                             4 Filed
                                Filed10/26/16
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                             4 Filed
                                Filed10/26/16
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                                Filed10/26/16
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                             44
                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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      2:16-bk-17571-BR Claim
                        Doc 69
                             44
                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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                        Doc 69
                             44
                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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                        Doc 69
                             44
                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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                             44
                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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                             44
                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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                             44
                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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      2:16-bk-17571-BR Claim
                        Doc 69
                             44
                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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      2:16-bk-17571-BR Claim
                        Doc 69
                             44
                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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      2:16-bk-17571-BR Claim
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                             44
                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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      2:16-bk-17571-BR Claim
                        Doc 69
                             44
                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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      2:16-bk-17571-BR Claim
                        Doc 69
                             44
                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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                             44
                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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      2:16-bk-17571-BR Claim
                        Doc 69
                             44
                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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                        Doc 69
                             44
                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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      2:16-bk-17571-BR Claim
                        Doc 69
                             44
                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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      2:16-bk-17571-BR Claim
                        Doc 69
                             44
                             4 Filed
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                                      12/01/16 Desc
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                             4 Filed
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                        Doc 69
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                        Doc 69
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      2:16-bk-17571-BR Claim
                        Doc 69
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                                      12/01/16 Desc
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                        Doc 69
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                                      12/01/16 Desc
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                                                                  EXHIBIT C
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
4375 Jutland Drive/Suite 200/P.O. BOX 17933/San Diego, CA 92177

                                                                      Stipulation Re: Treatment of Creditor's Claim
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 Under Debtor's Chapter 11 Plan of Reorganization
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
01/20/2017          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  United States Trustee, ustpregion16.la.ecf@usdoj.gov
  United States Trustee (represented by): Ron Maroko, ron.maroko@usdoj.gov
  Attorney for Debtor: Thomas B Ure, tbuesq@aol.com

                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              01/20/2017        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
   Honorable Judge Barry Russell                                            DEBTOR
   Suite 1660, Courtroom 1668                                               Alvaro A. Bautista
   255 E. Temple Street                                                     10527 Saint James
   Los Angeles, CA 90012                                                     South Gate, CA 90280
                                                                                       ✔ Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

01/20/2017                      Esteban Garcia                                                 /s/ Esteban Garcia
 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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VIA ELECTRONIC NOTICE:

OTHER PARTIES IN INTEREST

Merdaud Jafarnia, bknotice@mccarthyholthus.com

Cassandra J Richey, cmartin@pralc.com

Edward A Treder, cdcaecf@bdfgroup.com



VIA FIRST CLASS U.S. MAIL:

ATTORNEY FOR DEBTOR

Ure Law Firm
800 W 6th Street, Suite 5
Los Angeles, CA 90017
